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                                                  #:76934


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                      Attorneys for Defendants,
                    8 Ryan Ferrell; Victoria Knowles; Dave Reid; and
                      Andrew Lee Baslow
                    9
                 10                                     UNITED STATES DISTRICT COURT
                 11                                    CENTRAL DISTRICT OF CALIFORNIA
                 12                                          SOUTHERN DIVISION
                 13 NATURAL-IMMUNOGENICS CORP.,                         )   Case No. 8:15-cv-02034-JVS-JCG
                    a Florida Corporation,                              )
                 14                                                     )   Judge: Hon. James V. Selna
                                Plaintiff,                              )
                 15                                                     )   STIPULATION TO DISMISS
                           vs.                                          )   PLAINTIFF NIC’S MALICIOUS
                 16                                                     )   PROSECUTION CLAIM
                    NEWPORT TRIAL GROUP, et al.,                        )   AGAINST DEFENDANT DAVID
                 17                                                     )   REID; AND [PROPOSED] ORDER
                                Defendants.                             )   THEREON
                 18                                                     )
                                                                            Complaint Filed: December 7, 2015
                 19                                                         Trial Date:      November 1, 2021
                 20                 Plaintiff, Natural Immunogenics Corp. (“NIC”) and Defendant David Reid
                 21 (collectively the “Parties”), by and through counsel of record, and for the reasons set
                 22 forth below, hereby jointly stipulate and ask this Court to issue an Order dismissing
                 23 NIC’s Malicious Prosecution claim against David Reid.
                 24                                             STIPULATION
                 25                 WHEREAS, on December 7, 2015, NIC filed its Complaint for (1) Malicious
                 26 Prosecution; (2) Violation of the RICO Act (18 U.S.C. §§ 1961, 1962(c), 1964(c));
                 27 (3) Violation of the RICO Act (18 U.S.C. §§ 1961, 1962(d), 1964(c)); (4) Violation
                 28
BREMER WHYTE BROWN &
       O’MEARA LLP
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     SECOND FLOOR                  STIPULATION TO DISMISS PLAINTIFF NIC’S MALICIOUS PROSECUTION CLAIM AGAINST
                                                              DEFENDANT DAVID REID
NEWPORT BCH, CA 92660
      (949) 221-1000
                           1601.116 4811-0176-5863.2
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                    1 of the RICO Act (18 U.S.C. §§ 1961, 1962(d), 1964(c)); and (5) Unfair Competition
                    2 (Cal. B&P Code §§ 17200, et seq.; Cal. B&P Code §§ 7520, et. seq.) (Dkt. 1);
                    3               WHEREAS, a number of amended complaints were filed in the above-
                    4 captioned matter and the operative complaint is now the Fourth Amended Complaint
                    5 (“FAC”), filed on June 18, 2020. (DKT 1007);
                    6               WHEREAS, the FAC lists the following counts against defendants: (1)
                    7 Malicious Prosecution; (2) Violation of the RICO Act (18 U.S.C. §§ 1961, 1962(c),
                    8 1964(c)); (3) Violation of the RICO Act (18 U.S.C. §§ 1961, 1962(d), 1964(c)) and
                    9 (4) Unfair Competition (Cal. B&P Code §§ 17200, et seq.; Cal. B&P Code §§ 7520,
                 10 et. seq.);
                 11                 WHEREAS, the FAC names David Reid as a defendant to the count for
                 12 Malicious Prosecution at paragraph 379 of the FAC;
                 13                 WHEREAS, the Parties, by and through their counsel, met and conferred and
                 14 agreed that NIC will dismiss, with prejudice, its Malicious Prosecution claim as to
                 15 defendant David Reid, only;
                 16                 WHEREAS, NIC does not by this stipulation dismiss any other claims against
                 17 Defendant David Reid and still asserts Count II (Violation of the RICO Act (18
                 18 U.S.C. §§ 1961, 1962(c), 1964(c)) and Count III (Violation of the RICO Act (18
                 19 U.S.C. §§ 1961, 1962(d), 1964(c)) against Defendant David Reid; and
                 20                 WHEREAS, David Reid hereby reserves all rights and waives none of his
                 21 defenses available to him at the time of this stipulation.
                 22                 ACCORDINGLY, the Parties do hereby stipulate and agree, and respectfully
                 23 request that the Court issue an order dismissing NIC’s count for Malicious
                 24 Prosecution as to defendant David Reid, with prejudice.
                 25 / / /
                 26 / / /
                 27 / / /
                 28 / / /
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                                                  #:76936


                    1
                           Dated April 30, 2021                    EMORD & ASSOCIATES, PC
                    2
                    3                                          By: /s/ Joshua S. Furman
                                                                   Peter A. Arhangelsky, Esq. (SBN 291325)
                    4
                                                                   Joshua S. Furman (pro hac vice)
                    5                                              Attorneys for Plaintiff
                                                                   Natural Immunogenics Corp.
                    6
                    7 Dated: April 30, 2021                        BREMER WHYTE BROWN & O’MEARA
                                                                   LLP
                    8
                    9
                                                                   By: /s/ Kyle A. Riddles
                 10                                                    Benjamin Price
                                                                       Kyle A. Riddles
                 11                                                    Attorneys for Defendants
                                                                       Ryan Ferrell; Victoria Knowles;
                 12                                                    Dave Reid; and Andrew Lee Baslow
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                                                              DEFENDANT DAVID REID
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                  Case 8:15-cv-02034-JVS-JCG Document 1122 Filed 04/30/21 Page 4 of 5 Page ID
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                    1                                    CERTIFICATE OF SERVICE
                    2
                    3        I am employed in the County of Orange, State of California. I am over the age
                      of 18 and not a party to the within action. My business address is 20320 S.W. Birch
                    4 Street, Second Floor, Newport Beach, California 92660.
                    5               On April 30, 2021, I served the within document(s) described as:
                    6            STIPULATION TO DISMISS PLAINTIFF NIC’S MALICIOUS
                                 PROSECUTION CLAIM AGAINST DEFENDANT DAVID REID; AND
                    7            [PROPOSED] ORDER THEREON
                    8
                    9               on the interested parties in this action as stated on the attached mailing list.
                 10          X      (BY CM/ECF) I hereby certify that I have caused the foregoing to be served
                                    upon counsel of record and all interested parties through the Court’s electronic
                 11                 service system.
                 12              I certify that I am employed in the office of a member of the bar of this Court
                           at whose direction the service was made.
                 13
                                    Executed on April 30, 2021, at Newport Beach, California.
                 14
                                    I declare under penalty of perjury that the foregoing is true and correct.
                 15
                 16                      Laurinda L. Palacio                           /s/ Laurinda L. Palacio
                                        (Type or print name)                                 (Signature)
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                    1                      Natural-Immunogenics Corp. v. Newport Trial Group, et al
                    2                                  Case No. 8:15-cv-02034-JVS-JCG
                    3 BWB&O CLIENT:   Ryan Ferrell; Victoria Knowles; Dave Reid; and
                                   Andrew Lee Baslow
                    4
                    5 BWB&O FILE NO.:                  1601.116
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